           Case 8-15-72384-reg             Doc 27      Filed 06/02/17   Entered 06/02/17 11:55:31



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                  Chapter 13
JOHN O'MAHONEY
CARLA O'MAHONEY
                                                                  Case No.: 15-72384-736

                                                                  CERTIFICATION OF
                           Debtor(s)                              COMPLETED PLAN
---------------------------------------------------------X



         MICHAEL J. MACCO, Chapter 13 Trustee, states that upon information and belief the Debtor(s) has

completed the Chapter 13 Plan. Accordingly, it is therefore requested that the Clerk issue a discharge if it

determines the Debtor(s) has complied with all of the statutory requirements for doing so. The Trustee will

file a Final Report and Account when all payments to creditors have been accounted for, and all checks have

cleared. The Trustee requests that the Court keep the case open pending receipt of the Final Report and

Account.



Dated: Islandia, New York
       June 2, 2017
                                                             /s/ Michael J. Macco
                                                             MICHAEL J. MACCO
                                                             Chapter 13 Trustee
